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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                            No. 12-827V
                                     Filed: November 14, 2014
                                         Not for Publication


*************************************
DANIEL BOYLE,                               *
                                            *
              Petitioner,                   *
                                            *    Damages decision based on stipulation;
v.                                          *    influenza (flu) vaccine; brachial plexus
                                            *    neuritis
SECRETARY OF HEALTH                         *
AND HUMAN SERVICES,                         *
                                            *
              Respondent.                   *
                                            *
*************************************
Edward M. Kraus, Chicago, IL, for petitioner.
Heather L. Pearlman, Washington, DC, for respondent.


MILLMAN, Special Master

                              DECISION AWARDING DAMAGES1

         On November 14, 2014, the parties filed the attached stipulation in which they agreed to
settle this case and described the settlement terms. Petitioner alleges that he suffered from
brachial plexus neuritis that was caused by his receipt of seasonal influenza (“flu”) vaccine on
December 8, 2009. He further alleges that he experienced the residual effects of this injury for
more than six months. Respondent denies that the flu vaccine caused petitioner to suffer brachial
plexus neuritis or any other injury. Nonetheless, the parties agreed to resolve this matter
informally.

1
  Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899,
2913 (Dec. 17, 2002). Vaccine Rule 18(b) states that all decisions of the special masters will be made
available to the public unless they contain trade secrets or commercial or financial information that is
privileged and confidential, or medical or similar information whose disclosure would constitute a clearly
unwarranted invasion of privacy. When such a decision is filed, petitioner has 14 days to identify and
move to delete such information prior to the document’s disclosure. If the special master, upon review,
agrees that the identified material fits within the banned categories listed above, the special master shall
delete such material from public access.
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        The undersigned finds the terms of the stipulation to be reasonable. The court hereby
adopts the parties’ said stipulation, attached hereto, and awards compensation in the amount and
on the terms set forth therein. Pursuant to the stipulation, the court awards a lump sum of
$150,000.00, representing compensation for all damages that would be available under 42 U.S.C.
§ 300aa-15(a) (2006). The award shall be in the form of a check for $150,000.00 made payable to
petitioner.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the
court is directed to enter judgment herewith.2


IT IS SO ORDERED.


Dated: November 14, 2014                                                           s/ Laura D. Millman
                                                                                      Laura D. Millman
                                                                                       Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
                                                    2
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